Appellate
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                                              UNITED STATES COURT OF APPEALS
                                                   FOR THE TENTH CIRCUIT

         ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                              PARTIES

     Darlene Griffith
     Plaintiff-Appellant

      v.                                                                            Case No. 23-1135
     El Paso County, Colorado, et al.
     Defendant-Appellee

                                  ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:
 United States of America
 ______________________________________________________________________________
                                 [Party or Parties] 1

 ______________________________________________________________________________

 Amicus Curiae
 ____________________________________________________, in the above-captioned case(s).
        [Appellant/Petitioner or Appellee/Respondent]


 Matthew N. Drecun
 ______________________________________                                        ______________________________________
 Name of Counsel                                                               Name of Counsel
 s/ Matthew N. Drecun
 ______________________________________                                        ______________________________________
 Signature of Counsel                                                           Signature of Counsel
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                                                                               ______________________________________
 Mailing Address and Telephone Number                                          Mailing Address and Telephone Number
 Matthew.Drecun@usdoj.gov
 ______________________________________                                        _____________________________________
 E-Mail Address                                                                 E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
Appellate
     Appellate
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                23-1135
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       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

     The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




 ✔ There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.


 1/25/2024
 _________________________
 Date
 s/ Matthew N. Drecun
 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
Appellate
     Appellate
          Case:Case:
                23-1135
                     23-1135
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

         ✔
                All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

              On ____________________________
                     1/25/2024                I sent a copy of this Entry of Appearance
                               [date]
 Form to:
 ______________________________________________________________________________


 at____________________________________________________________________________,


 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 1/25/2024
 _________________________
 Date

 s/ Matthew N. Drecun
 _______________________________________
 Signature




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